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IN THE UNITED STATES DISTRICT COURT ri FER | 5 dee i
FOR THE EASTERN DISTRICT OF VIRGINIA | A |

 

Richmond Division CLERK, US. DISTRIC: COURT
RICHMOND, VA
MALCOLM FALLIN,
Plaintiff,
Vv. Civil Action No. 3:21-cv-131

VIRGINIA DEPARTMENT
OF TRANSPORTATION

Defendants.
MEMORANDUM OPINION

This matter is before the Court on the MOTION FOR SUMMARY
JUDGMENT (the “Motion”) (ECF No. 28) and accompanying MEMORANDUM
OF LAW IN SUPPORT OF DEFENDANT’S MOTION FOR SUMMARY JUDGMENT (ECF
No. 29), filed by Virginia Department of Transportation (“VDOT”)
against Plaintiff Malcom Fallin. By ORDER (ECF No. 54), the Motion
was granted. This Memorandum Opinion sets out the reasons for
that decision.

BACKGROUND

I. Factual Background

Fallin is an African-American male who is now, and, who was
at the time at issue, working as a Transportation Operation II
(“T.O. II”) with VDOT where he had been employed for over 25 years.
ECF No. 199 1, 2; ECF No. 29 9 1. Fallin began working at VDOT
in 1994 as a crew member in the Lottsburg Area Headquarters

(“LAHO”), which is in Northumberland County and part of VDOT’s

 
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Fredericksburg District. ECF No. 52 4 2. Fallin’s duties as T.O.
II included maintaining and patching roads, mowing, cleaning
ditches, and operating equipment such as backhoes and motor
graders. Id. @ 3.

The T.0. III position requires the employee to engage in
“emergency response, requiring work in and outside normal work
hours during emergency operations.” ECF No. 1912. According to
the job application, the minimum qualifications to work as a T.O.
III include:

(a) considerable knowledge of highway maintenance = and
construction practices and procedures; (b) considerable skill
in operating and maintaining light, medium, and heavy-duty
equipment used in highway maintenance construction; (c) basic
recordkeeping and computer skills; (d) ability to plan,
schedule, and complete work assignments; (e) ability to train
and lead the work of others; (f) ability to perform manual
labor including frequent lifting up to 50 pounds and to use
hand and power tools; (g) ability to read, interpret, and
apply work zone safety and traffic control manuals; (h)
ability to obtain CDL and DOT medical card within 6 months of
employment and maintain thereafter; (i) ability to work
inclement weather, accidents, and emergency / disaster
response; and (j) valid driver’s license.

Preferred qualifications to work as a T.O. III include:

(a) experience leading the work of and training others; (b)
experience supporting emergency operations such as_ snow
removal, storm damage and accident clean up; (c) experience
using computers to read email and record data; (d) experience
preparing reports and keeping records; and (e) high school
diploma or GED preferred; equivalent experience or training
may substitute.
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In 2008, Fallin applied for, and was offered, the position of
T.O. III, but he declined to accept it. From 2016 to 2019, Fallin
applied three times to be promoted from T.O. II to T.O. III. Id.
{| 1. The only application at issue in this case is the one that
Fallin filed in 2019. The other circumstances of the applications
are discussed because Fallin refers to them in his argument that
VDOT’s legitimate nondiscriminatory reason for promoting someone
else in 2019 was pretext for racial discrimination.

A. The 2008 Application and Offer (Inmate Crew Leader)

In 2008, Fallin applied for and was offered a promotion to
Inmate Crew Leader, a T.O. III position. ECF No. 52 4 7.1 The
parties agree that the initial offer included a proposed salary
increase of 10 percent that was increased to 12 percent after
negotiations occurred between Fallin and Rob Miller, a Maintenance
Transportation Officer who was involved in the hiring decision.
ECF No. 52 4 6.2 The parties also agree that Fallin unsuccessfully

negotiated for a salary increase of 15 percent and that he

ultimately rejected the position. ECF No. 52 7 9.3 Notwithstanding

 

1 See also ECF No. 29 § 6 (Fallin Dep., ECF No. 29-33 at 138:20-
139:6; 141:10-142:24); ECF No. 33 at 4.

2 See also ECF No. 29 | 7 (Fallin Dep., ECF No. 29-33 at 142:15-
143:10); ECF No. 33 at 4.

3 The parties dispute, however, Fallin’s reason for declining
the 2008 promotion offer. Compare ECF No. 29 FW 8-9 with ECF No.
33 at 4, 9, 7 3-4. Fallin says that he declined the offer because
he would have been the lowest paid T.O. III and that he would have

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Fallin’s grievances, both parties confirm that he ultimately
refused the promotion twice.
B. Maintenance Supervisor Training Program (“MSTP”)

Since 2012, VDOT has maintained a year-long training program
for Fredericksburg District crew members called the Maintenance
Supervisor Training Program (“MSTP”). ECF No. 52 Q 12. The
program has two features: a classroom portion covering relevant
curriculum and an on-site training portion where participants
receive hands-on instruction on VDOT systems and fieldwork. Id.
q 13.

The parties dispute what skills are primarily taught during
the MSTP and whether additional computer training at the employee’s

local headquarters is outside the purview of the formal MSTP.* The

 

had a commute of 40 to 50 minutes duration. ECF No. 33 at 4.
Fallin claims that a VDOT manager told him to apply again and that
he would receive a 15 percent raise. Id. Fallin applied again,
did not receive the salary raise, and rejected the offer for a
second time. Id. He then filed a grievance claiming the salary
negotiations “violated his human rights.” ECF No. 29 7 9; Employee
Grievance Procedure, ECF No. 29-27 (Fallin states “unfair hiring
practice/violation of rights”). Fallin’s claim was dismissed as
a result of VDOT’s Third Step Resolution Response, which determined
the salary offer was “negotiated with [Fallin] but [he did] not
accept the outcome.” The District Administrator informed Fallin
that he could “find no reason to increase [Fallin’s] salary in his
current position as the salary offer was predicated on [Fallin]
accepting more responsibilities and accomplishing the requirements
of a Transportation Operator III on a permanent basis.” Id. at
10-11. All of this is immaterial to Fallin’s position on summary
judgment.

4 Compare ECF No. 29 @@ 13-14 with ECF No. 33 44 6-7.
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parties also dispute whether the purpose of the MSTP is to make
employees more competitive for promotions to supervisory-level
positions.5 Those disputes are not material because the parties
agree that completion of the program is not a requirement and that
participation in the MSTP does not guarantee a promotion nor does
failure to participate in or complete the MSTP automatically
exclude a promotion. §®

In 2014, Fallin applied to participate in the MSTP, and the
application was approved by Todd Vanlandingham, the VDOT
Superintendent of Northumberland County.’ Fallin completed the
classroom component of the MSTP and was placed at the Brookvale
Area Headquarters where Chris Basye supervised his on-site
training. ECF No. 52 4 17. Both parties agree that Fallin did
not complete on-site training, but they offer different reasons

why he failed to do so.®

 

> Compare ECF No. 29 9 11 with ECF No. 33 @1 5.
6 ECF No. 29 9 15 (citing Fallin Dep., ECF No. 29-33 at 176:9-

177:7); ECF No. 52 Q 16.

? Vanlandingham began working at VDOT in 1998 as a crew member
and was promoted to Supervisor of LAHQ. ECF No. 29 7 4. In 2004,
Vanlandingham was promoted to Superintendent of Northumberland
County and was succeeded in the Supervisor role at the LAHQ by
others, including William Douglas who held the position from 2012
through 2017. Id. @ 5. The current Supervisor is Thomas “Chris”
Basye. I™d,

8 Compare ECF No. 29 7 17 with ECF No. 33 at 5-6, 7 8.
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Apparently Fallin did not have time to devote to the on-site
training so he met with Basye and David Brown, the residency
engineer for the Northern Neck residency. According to Fallin,
Brown said he would talk to Vanlandingham “to make sure that
[Fallin] g[o]t in the office and g[o]t training.”? The parties
agree that Fallin and Vanlandingham met thereafter and that
Vanlandingham informed Fallin that he could receive extra training
in Lottsburg.?!°

Fallin says that Vanlandingham never scheduled the training
but concedes that he never pursued the matter of additional
training with Vanlandingham. Fallin also agrees that he never
asked Vanlandingham to schedule computer training several days in

advance before the work schedule was made.!}!

 

9 ECF No. 29 § 19 (referencing Fallin Dep., ECF No. 29-33 at
66:9).
19 Id. (referencing Fallin Dep., ECF No. 29-33 at 67:6;

Plaintiff’s Discovery Responses, ECF No. 29-29 at 2; Vanlandingham
Dep., ECF No. 29-36 at 133:18-134:6); ECF No. 52 7 21.

11 ECF No. 29 9 19 (referencing Fallin Dep., ECF No. 29-33 at
67:19-68:7; 72:21).
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C. Fallin’s 2016 and 2017 Applications for Promotion to T.O. III

In March 2016, a Maintenance Crew Leader position, classified
as T.O. III, became available for the first time at the LAHQ. ECF
No. 52 4 20. This position oversees work crews but has no actual
managerial authority. Id. @ 20; ECF No. 29 Q 20 (referencing
Fallin Dep., ECF No. 29-33 at 17:20-18:7). Daniel Brown, the
residency engineer, was in charge of the application process. Joan
Spangler, the Senior Human Resource Consultant, assisted Brown in
filling the vacancy. ECF No. 52 9 21. The minimum qualifications
for the listed position included “considerable knowledge of
highway maintenance and construction practices and procedures[,]”
and “skill in the use of computers and software applications.”
Id. 9 22.

Two Caucasian and two African-American applicants, including
Fallin, were selected to interview for this position. ECF No. 52
q 23. The interview panel consisted of Spangler (Caucasian),
Tracey Stewart (Caucasian), Keith Washington (African-American),
and David Brown (Caucasian). Id. @ 24. The panel unanimously
selected Michael Bryant, a Caucasian male, to fill the position
based on his supervisory experience and “because he demonstrated
his experience operating heavy equipment, building rural roads,
and performing highway maintenance, paving, mowing, snow removal,

and emergency operations.” ECF No. 29 F@ 26-28.
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In March 2017, Bryant was promoted from T.O. III to Supervisor
at LAHQ. Fallin, Michael Moss, and four others were selected to
interview for the T.O. III position vacated by Bryant’s promotion.
Two of the applicants were African-American and four were
Caucasian. ECF No. 52 FF 26-27. Three Caucasian individuals,
including Vanlandingham, and one African-American individual
comprised the interview panel. Id. @ 29; see also Fallin Dep.,
ECF No. 29-33 at 98:11. The panelists attest that both Fallin and
Moss were qualified, but unanimously agreed that Moss was better
suited for the position because he was already employed as
Maintenance Crew Leader T.O. III at another location. ECF No. 29
qi 33, 37, 39. The panel considered that Moss offered “very
detailed, very precise” answers to the interview questions,
whereas Fallin’s responses were “incomplete,” and “did not
demonstrate the higher level of leadership and technical
experience needed to accomplish the duties of [the T.0. IIT]
position.” Id. @@ 37-38. Vanlandingham shared with Fallin that
he did not get the promotion because he did not interview well.
Fallin concedes that he did not ask any follow-up questions. Id.
§ 40 (referencing Fallin Dep., ECF No. 29-33 at 108:20); ECF No.

52 7 31.
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D. 2019 Application and Decision

In July 2019, Moss was promoted from T.O. III to Supervisor
at Brookvale Area Headquarters, creating another T.O. III vacancy.
ECF No. 52 4 32. Similar tothe job requirements listed in 2016
and 2017, the 2019 position required the applicant to have
construction and equipment experience, as well as recordkeeping
and computer skills. Id. 7 33.

Fallin was one of three applicants interviewed and the only
African-American. Id. @ 35. Spangler, Vanlandingham, and Keith
Johnson, the Superintendent of King George County who is African-
American, were on the interview panel. Id. 7 36. The panelists
relied on an interview questionnaire form to record each
candidate’s responses during the interview as well as_ the
interviewers’ reactions to the responses and to the interview as
a whole. This form contained checkboxes that rated the candidate’s
answer as “Exceeds Requirements,” “Meets Requirements,” “Less than
Requirements,” and “Clearly Misses Requirements.” Id. 7 37.

The interview panel unanimously agreed that Brian Robinson
was the best candidate. Id. q 38. Johnson rated Robinson's
answers as “Meets Requirements” for all the questions except the
safety inquiry, which was left blank. Id. 4 39; ECF No. 29 4 48;
2019 Johnson Interview Notes, ECF No. 29-31 at 3. Spangler rated
Robinson as “Exceeds Requirements” in software proficiency and

roadway construction experience. ECF No. 52 94 40. Vanlandingham
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rated Robinson’s answers as “Meets Requirements” for all the
interview questions. Id. @ 41. The record does not show any
dispute as to whether a significant reason for promoting Robinson
over Fallin was Robinson’s experience as a co-owner and foreman of
an excavation company for approximately ten years where he gained
substantial experience in road construction, operating heavy
equipment, and managing employees. Id. Nor is it disputed that
Robinson had been with VDOT for nine years as a crew member, had
completed the MSTP, and gave detailed and prepared answers during
his interview. Id. 9 41-44.

II. Procedural Background

In March 2021, Fallin filed the Complaint in this action,
alleging two counts under Title VII of the Civil Rights Act of
1964, 42 U.S.C. § 2000e et seq.: COUNT I alleged a discriminatory
failure to promote (2019); and COUNT TWO alleged a claim for
discriminatory denial of training. In July 2021, the Court granted
DEFENDANT VDOT’S PARTIAL MOTION TO DISMISS COUNT II OF THE
COMPLAINT (ECF No. 7). As a result, COUNT II was dismissed with
prejudice. See ORDER (ECF No. 13).

In December 2021, after the completion of discovery, VDOT
filed DEFENDANT’S MOTION FOR SUMMARY JUDGMENT (ECF No. 28) and an
accompanying MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT’S MOTION
FOR SUMMARY JUDGMENT (ECF No. 29). Fallin timely responded and

VDOT replied. see PLAINTIFE’S MEMORANDUM IN OPPOSITION TO

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DEFENDANT’S MOTION FOR SUMMARY JUDGMENT (ECF No. 33); DEFENDANT'S
REPLY BRIEF IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT (ECF No.
45). Several exhibits submitted with the briefings have been
sealed. See ECF Nos. 33-43. The parties have also submitted a
Joint Statement of Facts. See JOINT WRITTEN STIPULATIONS OF
UNCONTROVERTED FACTS (ECF No. 52).
DISCUSSION

VDOT moves for summary judgment on COUNT I: Failure to Promote
because (1) the record shows that: (a) Fallin was not the superior
candidate; and (b) VDOT had a legitimate nondiscriminatory reasons
for the 2019 promotion; and because (2) there is no triable issue
as to whether VDOT’s proffered nondiscriminatory reason for not
selecting Fallin was a pretext for discrimination.

I. Summary Judgment Standard

Summary judgment is to be rendered “if the movant shows that
there is no genuine dispute as to any material fact and the movant
is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). The party seeking summary judgment bears the responsibility
to inform the Court of the basis for the motion and to identify
the parts of the record which demonstrate the absence of a genuine

issue of material fact. See Celotex Corp. v. Catrett, 477 U.S.

 

317 (1986). “[W]here the nonmoving party will bear the burden of
proof at trial on a dispositive issue, a summary judgment motion

may properly be made in reliance solely on the pleadings,

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depositions, answers to interrogatories, and admissions on file.”
Id. at 324 (internal quotation marks omitted). When the motion is
properly supported, the nonmoving party must go beyond the
pleadings and, by citing affidavits or “‘depositions, answers to
interrogatories, and admissions on file,’ designate ‘specific
facts showing that there is a genuine issue for trial.’” Id.
(quoting former Fed. R. Civ. P. 56(c) and 56(e) (1986)).

In reviewing a summary judgment motion, the Court “must draw

all justifiable inferences in favor of the nonmoving party.”

United States v. Carolina Transformer Co., 978 F.2d 832, 835 (4th

 

Cir. 1992) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

 

255 (1986)). However, a mere scintilla of evidence will not
preclude summary judgment. Anderson, 477 U.S. at 251 (citing
Improvement Co. v. Munson, 81 U.S. 442, 448 (1871)). “[T]here is

 

a preliminary question for the judge, not whether there is
literally no evidence, but whether there is any upon which a jury
could properly proceed to find a verdict for the party . . . upon
whom the onus of proof is imposed.” Id. (quoting Munson, 81 U.S.
at 448). Additionally, “Rule 56 does not impose upon the district
court a duty to sift through the record in search of evidence to
support a party’s opposition to summary judgment.” Forsyth v.
Barr, 19 F.3d 1527, 1537 (5th Cir. 1994) (quoting Skotak v. Tenneco

Resins, Inc., 953 F.2d 909, 915 n.7? (5th Cir. 1992)); see Fed. R.

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Civ. P. 56(c) (3) (“The court need consider only the cited
materials”).

II. Summary Judgment on Title VII Claims

Title VII prohibits employers from discriminating against any
individual with respect to “compensation, terms, conditions, or
privileges of employment because of such individual’s race[.]” 42
U.S.C. § 2000e-2(a) (1). “To survive a motion for summary judgment
on a Title VII disparate treatment claim, a plaintiff must either
proceed under the mixed-motive framework or the McDonnell Douglas
burden-shifting framework.” Sempowich v. Tactile Sys. Tech.,
Inc., 19 F.4th 643, 649 (4th Cir. 2021). In this case, both
parties agree that the burden-shifting framework applies because
Fallin has not produced direct evidence of discrimination. Id.

“Under the burden-shifting framework, a plaintiff must first
offer a prima facie case.” Id. “Once a plaintiff makes out a
prima facie case, the burden shifts to the employer to put forth
a nondiscriminatory explanation for its actions. If the employer
does so, the burden then shifts back to the plaintiff to show that
the employer’s explanation was actually a pretext for
discrimination.” Id. at 650. The ultimate burden of persuasion
“remains at all times with the plaintiff.” Reeves v. Sanderson
Plumbing Prods., 530 U.S. 133, 143 (2000) (internal citations and

quotation marks omitted).

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Local Civil Rule 56(b) requires that the brief of a party
seeking summary judgment include a detailed, and documented (by
citation to the record), listing of material facts that the moving
party thinks are not genuinely in dispute. The local rule requires
the response brief to respond by identifying, with like
documentation, material facts as to which there is a genuine
dispute.

VDOT specified 58 material facts that it thought were
undisputed. Fallin agreed with 21 of those. As to another 25
(which were citations to depositions or documents), Fallin merely
responded that the “deposition testimony and/or document speaks
for itself,” thereby functionally acknowledging the lack of any
dispute because the deposition testimony was correctly cited in
VDOT’s papers. Fallin took issue with 13 of VDOT’s asserted
undisputed facts. See generally ECF No. 33.

However, as explained below, VDOT admits that Fallin has made
out a prima facie case; and Fallin admits that VDOT has proffered
a legitimate nondiscriminatory reason for not promoting Fallin.
Thus, the differing views of the parties pertain only to the issue:
whether VDOT’s allegedly nondiscriminatory reason for not
promoting Fallin is a pretext for racial discrimination. Whether
those differences constitute genuine disputes of material fact

and, if so, whether such disputes preclude summary judgment

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therefore pertain to Fallin’s pretext argument, and will be

assessed thusly.

A. Fallin Has Established a Prima Facie Case for Discrimination
Under the burden-shifting approach, Fallin must first

demonstrate the prima facie elements of a failure-to-promote

claim. Sharif v. United Airlines, Inc., 841 F.3d 199, 203 (4th

 

Cir. 2016). VDOT recognizes that Fallin “has met his initial
burden because he is [African-American], he applied for the [T.O.
III] position, he was qualified for the position when he was
selected for an interview, and ‘someone outside of the plaintiff's
protected group ultimately was selected for the position.’” ECF

No. 29 at 15-16 (quoting Langerman v. Thompson, 155 F. Supp. 2d

 

490, 495 (D. Md. 2001)). Further inquiry is not required on that
aspect of the analysis.

B. VDOT Has Tendered a Nondiscriminatory Reason for Not Promoting
Fallin .

The burden “then shifts to the employer to . . . provide some
legitimate, nondiscriminatory reason for the [contested,] adverse
employment action.” Sharif, 841 at 203 (internal citation and
quotation marks omitted). “In evaluating employer intent and the
question of pretext, the district court may consider ‘among other
things, the historical background of the . . . decision; [t]he
specific sequence of events leading up to the challenged decision;

(dJepartures from the normal procedural sequence; and. . . [any]

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contemporary statements by members of the decisionmaking body.

Id. at 205 (quoting Reno v. Bossier Parish Sch. Bd., 520 U.S. 471,

 

489 (1997)).

VDOT asserts that the hiring panel’s belief that Robinson was
the most qualified candidate for the T.0O. III position is a
legitimate nondiscriminatory reason for not selecting Fallin. ECF
No. 29 at 16. To substantiate this rationale, VDOT relies on the
deposition testimony of the panelists and their contemporaneous
notes. For instance, Vanlandingham stated that Robinson was
promoted, in part, because LAHQ required “someone with extensive
experience with heavy equipment [and] construction experience,”
and that “Robinson had all of the qualifications[,] not only with
VDOT but in his past work experience . .. .” Id. at 17
(referencing Vanlandingham Dep., ECF No. 29-36 at 149:4).
Additionally, Spangler stated that Robinson had “[e]xtensive

[experience] in road building and site construction” from his VDOT

career and “other previous employment that was roadway
construction [and] pipe installation.” Id. (referencing Spangler
Dep., ECF No. 29-35 at 75:20-76:7). Further, Johnson noted that,

even though all candidates were qualified, Robinson “had more
experience . . . overseeing projects” than other candidates. Id.
(referencing Johnson Dep., ECF No. 29-34 at 84:15-85:3).

For his part, Fallin “does not dispute that VDOT put forth an

alleged nondiscriminatory explanation for its decision not to

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[promote him} in 2019.” ECF No. 33 at 13. Thus, further
examination is not required on that aspect of the burden-shifting

analysis.

C. Whether Fallin Has Put Forth Evidence from Which Pretext Could
be Found by a Reasonable Jury

Now that Fallin has established a prima facie case (as VDOT
has acknowledged) and VDOT has tendered nondiscriminatory reasons
for the challenged employment action (as Fallin has acknowledged),
Fallin must show that there is evidence sufficient “to prove by a
preponderance of the evidence that the legitimate reasons offered
by the defendant were not its true reasons, but were a pretext for
discrimination.” Tex. Dep’t of Cmty. Affairs v. Burdine, 450 U.S.
248, 253 (1981); Sharif, 841 F.3d at 203 (“[T]he plaintiff resumes
the burden of persuading the factfinder that the employer’s
proffered explanation is merely a pretext for discrimination”).

“(O]nce the employer’s justification has been eliminated,
discrimination may well be the most likely alternative
explanation, especially since the employer is in the best position
to put forth the actual reason for its decision.” Reeves, 530
U.S. at 147. “The plaintiff may attempt to establish that he was
the victim of intentional discrimination ‘by showing that the
employer’s proffered explanation is unworthy of credence.’” Id.

(quoting Burdine, 450 U.S. at 256). “Moreover, although the

presumption of discrimination ‘drops out of the picture’ once the

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defendant meets its burden of production, . . . the trier of fact
may still consider the evidence establishing the plaintiff’s prima
facie case ‘and inferences properly drawn therefrom’ . . . on the
issue of whether the defendant’s explanation is pretextual[.]”
Id. (internal citations omitted); see also Reeves, 530 U.S. at
148. Accordingly, the Court must consider several factors,
including “the strength of the plaintiff’s prima facie case, the
probative value of the proof that the employer’s explanation is
false, and any other evidence that supports the employer’s case.”
Reeves, 530 U.S. at 148-49.

A “plaintiff alleging a failure to promote claim can prove

pretext by showing that he was better qualified or amassing

 

circumstantial evidence that otherwise undermines the credibility

 

of the employer's stated reasons.” Heiko v. Colombo Sav. Bank,
F.S.B., 434 F.3d 249, 259 (4th Cir. 2006) (internal citations
omitted) (emphasis added). Therefore, the question now is “whether
there is sufficient evidence of pretext” to allow a jury to decide
that VDOT’s failure to promote was attributable to discrimination.
Id. For the reasons set for the below, Fallin has not overcome
the burden of establishing that VDOT’s rationale for hiring
Robinson instead of Fallin was mere pretext because he has (1)
admitted that he was not better qualified than Robinson and (2)
not submitted circumstantial evidence that undermines’ the

credibility of VDOT’s proffered reasons for promoting Robinson.

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1. Better Qualified

VDOT has made a strong case that there is no basis in the
record to support a finding that Fallin was demonstrably more
qualified for the T.0O. III position than Robinson. VDOT’ s
proffered rationale for choosing Robinson is included in the hiring
panel’s Candidate Evaluation Forms, Personnel Action Worksheets,
and deposition testimony, which demonstrate that Robinson was the
superior candidate. In particular, Robinson’s Candidate
Evaluation Form and Personnel Action Worksheet highlight his
completion of the MSTP in addition to his “extensive experience in
road construction and operating heavy equipment” as justifications
for choosing him for the promotion. ECF No. 29-17; see also 2019
Completed Personnel Action Worksheet, ECF No. 45-3 at 6 (Robinson
“was a graduate of the Maintenance Supervisor Training Program”
and “has an additional 20 years of directly related experience as
a Heavy Equipment Operator while installing pipe, road building
and installing curb and gutter.”).

That record evidence notwithstanding, Fallin’s brief argues
that he was more qualified than Robinson because Fallin has more
T.O. II experience, significant experience with heavy equipment,
and good job performance evaluations in 2017-18 and 2018-19.
However, a plaintiff “cannot establish pretext by relying on
criteria of h[is] choosing when the employer based its decision on

other grounds.” Anderson, 406 F.3d at 271. Fallin has not

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submitted any evidence from which a jury could find that he was
more qualified than Robinson. Moreover, Fallin, unequivocally
admitted that he could not say that he was the superior candidate
compared to Robinson. Fallin Dep., ECF No. 29-33 at 128:5. (“I
wouldn’t say I was a superior candidate, I’d say I was a good
candidate for that position.”). This acknowledgement means that
no reasonable jury could find that Fallin was better qualified
than Robinson.}¢

2. Circumstantial Evidence Respecting Whether a Jury Could Find

VDOT’s Legitimate Nondiscriminatory Reason Was Pretext for Racial
Discrimination

Fallin correctly contends that pretext can be shown “'‘by
amassing other circumstantial evidence that otherwise undermines
the credibility of the employer’s stated reasons’ for his non
selection for the 2019 [T.0O. III] position.” ECF No. 33 at 15
(quoting Heiko, 434 F.3d at 259). “A plaintiff can show pretext
through evidence that the employer’s reasons . . . [‘]Jare
inconsistent over time, false, or based on mistakes of fact.’”

Cannada v. Old Dominion Brush, Co., Inc., No. 3:20-CV-952, 2021 WL

 

5441506, at *6 (E.D. Va. Nov. 19, 2021) (quoting Haynes v. Waste

Connections, Inc., 922 F.3d 219, 225 (4th Cir. 2019)). “The fact

 

that an employer has offered inconsistent post-hoc explanations

 

te It is beyond dispute that Fallin’s acknowledgement on that
point trumps the arguments to the contrary made by Fallin’s counsel
in the response brief for summary judgment.

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for its employment decisions is probative of pretext,” which may

be evidenced through depositions. Dennis v. Columbia Colleton

 

Med. Ctr., Inc., 290 F.3d 639, 647 (4th Cir. 2002) (internal
citation omitted).

According to Fallin, this circumstantial evidence includes
VDOT’s allegedly inconsistent reasons for promoting Robinson over
Fallin, including that: (1) “Vanlandingham claimed [that Fallin]
did not get the position because he had not completed MSTP” and
that “Vanlandingham did nothing to assist [Fallin] to complete
MSTP, and Vanlandingham’s prior initiation of a disciplinary
action against [Fallin] in 2010 related to scheduling chilled
Plaintiff’s efforts to schedule such training;” (2) in his
deposition, “Vanlandingham alleges the most important
qualification for the position was experience with heavy
construction equipment” and that Plaintiff lacked that experience
despite VDOT’s previous statement in his performance evaluations
that “[Fallin] has twenty-three years VDOT experience operating
heavy equipment’”; and (3) that the hiring panel “expressed concern
about [Fallin’s] computer skills” but “the job posting merely
required ‘[b]asic recordkeeping and computer skills,’ which VDOT
has repeatedly acknowledged Plaintiff possessed.” ECF No. 33 at
14-16 (internal citations omitted). Plaintiff adds that (4) “there
has never been an African-American selected as a [T.O. III], a

supervisor, or a superintendent in LAHQ.” Id. at 16.

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VDOT relies on the record to refute Fallin’s alleged
circumstantial evidence theory. Upon examination, the record does
not provide circumstantial evidence that would permit a reasonable
jury to conclude that VDOT’s proffered reasons for promoting
Robinson over Fallin were a pretext for discrimination.

First, VDOT asserts that Fallin’s rationale for not
completing the MSTP does not undermine the hiring panel’s decision
to promote Robinson over Fallin because: (1) the onus was on Fallin
to follow-up on Vanlandingham’s offer and approval to continue
training; and (2) Fallin conceded a lack of computer proficiency
as compared to Robinson’s superior qualifications. ECF No. 45 at
16-17. To support its position, VDOT points out that the record
is that: (1) Fallin admits that he never asked Vanlandingham to
organize the work schedule to facilitate Fallin’s computer
training;13 (2) Fallin does not even allege that Vanlandingham
somehow “prevented him from completing on-site training;” and (3)
Fallin was of the view that “he was proficient enough with VDOT
systems to apply for the [T.O. III] position” without further

computer training.'4

 

13 Id. (referencing Fallin Dep., ECF No. 29-33 at 72:21).

14 Id. at 19 (referencing Fallin Dep., ECF No. 29-33 at 79:3,
96:9, 117:19-118:8).

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Second, VDOT argues that Fallin has failed to produce evidence
that the hiring panel contemplated performance evaluations during
the promotional interview process and has not provided evidence
indicating that his own experience with heavy equipment is
preferable to Robinson’s experience. ECF No. 45 at 15-16.

Third, although VDOT concedes that Fallin’s lack of computer
skills factored into the hiring panel’s review process, but VDOT
argues that this point is not material because Fallin’s computer
proficiency was not the determinative factor in the promotion
decision. See ECF No. 29 at 20 (referencing 2016 Spangler
Interview Notes (Fallin), ECF No. 29-9). Robinson’s experience
with heavy equipment, according to VDOT and the evidence in the
record, was the influential factor. Id. at 10, 15.

Finally, VDOT provides evidence that African-American “VDOT
employees constitute a higher percentage of total [T.O. III] crew
leaders in Fredericksburg District than total applicants for those
positions.” Id. at 22. Notwithstanding the racial configuration
of the employee base, VDOT alleges that Fallin was up against
highly qualified candidates who possessed credentials that Fallin
lacked when he applied for T.O. III positions in 2016, 2017, and
2019. Id. Further, VDOT notes that Fallin’s inability to obtain
a promotion as Maintenance Crew Leader in 2016 and 2017 is not
probative of the hiring panel’s decision in 2019 because Fallin

had previously been offered a promotion twice in 2008. Id. at 20.

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A reasonable jury could not find that circumstantial evidence
on which Fallin relies proves that VDOT’s admittedly legitimate
non-discriminatory reasons was pretext for a decision made because
of racial discrimination. The hiring panel ascertained that Fallin
“had limited experience with timesheets and using computers while
in the MSTP[,]” that he “did not complete the program[,]” and that
Fallin “failed to convey the depth and breadth of his extensive
experience[.]” ECF No. 29-16.15 Fallin attempts to refute those
points by arguing that VDOT should have not considered completion
of the MSTP in determining who should receive the promotion.
However, Fallin may not “choose the criteria by which an employer

makes a promotion decision.” Anderson v. Westinghouse Savannah

 

River Co., 406 F.3d 248, 270 (4th Cir. 2005). Likewise, Fallin
does not substantiate that he would have received the 2019
promotion even if he had completed the MSTP and, indeed, he

concedes as much in the Joint Statement of Facts.!®

 

15 Compare 2019 Robinson Interview Summary, ECF No. 29-17
(“Brian has completed the MSTP”) with 2019 Fallin Interview
Summary, ECF No. 29-16 (“When describing his experience preparing
work orders and reports he stated that he had limited experience
with timesheets and using computers while in the MSTP. Mr. Fallin’s
Superintendent stated that although he did enroll in the MSTP, in
2014 he voluntarily withdrew and did not complete the program”).

16 “Vanlandingham believed that Fallin would not have been
considered the top candidate even if he had completed the MST
Program—i.e., developed proficiency with VDOT’ s software

applications because it was Robinson’s heavy equipment experience
in the construction business that set him apart from everybody
else.” ECF No. 52 7 44.

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Nor has Fallin shown that Vanlandingham inconsistently relied
on the MSTP as a means to promote Caucasian candidates over him.
On that score, Vanlandingham has consistently stated that
“[p]larticipation in MSTP Program was not required to obtain
promotions, but it is seen as a plus.” Decl. of John “Todd”
Vanlandingham, ECF No. 29-1 {@ 9; see also ECF No. 52 4 16
(“Participation in the MST Program did not guarantee that a crew
member would get a promotion.”). Notably, it does not appear that
Vanlandingham was on the interview panel that promoted Bryant in
2016. See ECF No. 29 @ 21. Although Vanlandingham was on the
interview panel in 2017, id. @ 23, the interview record does not
reference the MSTP. See, e.g., 2017 Posting Details, ECF No. 38
(sealed); Interview Summary Form (Moss), ECF No. 29-24; Interview
Summary Form (Fallin), ECF No. 29-25. Therefore, the record could
not support a finding by a jury that the application of the MSTP
requirement was inconsistent.

Fallin attempts to salvage this claim by arguing that
“Vanlandingham did nothing to assist Plaintiff to complete
MSTP{.]” ECF No. 33 at 15. That contention does not raise a
circumstantial case of pretext because the undisputed record shows
that Vanlandingham approved Fallin to participate in the training
and offered him additional time to complete his training as
requested and that Fallin voluntarily withdrew from the MSTP. ECF

No. 29-36 at 22; ECF No. 29-1 9 16; ECF No. 52 Q 7.

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Moreover, Fallin concedes that he never requested that
Vanlandingham organize the work schedule in advance to enable him
to complete the in-office training on the computer. Fallin Dep.,
ECF No. 33-1 at 72:8-12. Fallin’s reliance on the 2010 grievance
against him as the reason for not asking for the schedule
adjustment cannot stand because a different individual (otherwise
not named in this case) initiated the grievance against Fallin
rather than Vanlandingham. See Written Notice, Ex. 3, ECF No. 35
(sealed). Furthermore, the record shows that, in response to the
2010 grievance, Vanlandingham appears to have defended Fallin by
clarifying discrepancies in the grievance record, which ultimately
led to the grievant removing the written notice. See ECF No. 45-
8 at 9, 15-16 (sealed). No reasonable jury could find in the
record what Fallin suggests: that Vanlandingham’s conduct
respecting the 2010 grievance or =the MSTP training is
circumstantial evidence of racial discrimination.

Likewise, although Fallin had “more than satisfactory” annual
performance evaluations, ECF No. 33 at 15, “the performance
evaluation and the interview selection stage, which involves an
analysis of how the applicant meets the core and functional
competencies of the position that is open, are not
interchangeable.” Anderson, 406 F. 3d at 272 (emphasis added).

Fallin clearly received high praise for his work as an equipment

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operator from his supervisors;!? however, he has neglected to
produce evidence that the hiring panel contemplated performance
evaluations during the interview process and that his experience
with heavy equipment at VDOT was superior to Robinson's overall
extensive experience in operating heavy equipment.

Further, unlike the 2016 and 2017 job postings, the 2019 job
posting highlights that the position required “{c]lonsiderable

skill in operating and maintaining . . . heavy-duty equipment used

 

in highway maintenance construction”, which refutes Fallin’s

 

assertion that such emphasis was stated for the first time during
Vanlandingham’s deposition. Compare 2019 Job Posting, ECF No. 29-
13 at 2 with 2016 Job Posting, ECF No. 29-8 at 2 and 2017 Posting
Details, ECF No. 38 (sealed) (emphasis added). Additionally,
Robinson’s Candidate Evaluation Form and Personnel Action
Worksheet both validate Robinson’s superior experience with
operating heavy equipment, indicating that the emphasis arose well
before Vanlandingham’s deposition. See Performance Evaluation
2018, ECF No. 45-5. Robinson's application also indicates that he
“[o]perates heavy equipment.” ECF No. 45-7 at 2. Vanlandingham’s
declaration notes that he “wanted to emphasize experience with

heavy construction equipment as a key qualification for the

 

17 Indeed, his 2017, 2018 and 2019 Performance Evaluations
indicate that he is “skillf[ed] in the operation and maintenance of
light, medium, and heavy duty equipment used for highway
Maintenance and repair.” Ex. 12, ECF No. 33-12.

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position.” ECF No. 29-1 4 26. The Verbal Reference Check form,
completed by Vanlandingham on August 13, 2019, states that
Robinson’s primary strengths include “[g]ood equipment operator
with years of experience and knowing on all types [of] equipment.”
ECF No. 29-6 at 2. And, incontrovertibly, the Joint Statement of
Facts recognizes the hiring panel’s justification for selecting
Robinson for the promotion:

Robinson was the superior candidate because he provided

detailed answers that demonstrated the breadth of his

experience in operating heavy equipment and managing complex

construction projects. . . . What set Robinson apart from the

other candidates was that he had been a co-owner and foreman

of an excavation company for about ten years where he had

extensive experience in road construction, operating heavy

equipment, and overseeing employees’ time and work duties.
ECF No. 52 (9 38, 39, 40, 41; see also Johnson Dep. ECF No. 29-
34 at 84:15; Spangler Dep., ECF No. 29-35 at 80:5; Vanlandingham
Dep., ECF No. 29-36 at 114:13, 148:22-149:21.

The record also puts the sword to Fallin’s argument that his
tenure at VDOT made him more promotable than Robinson. For
instance, the Candidate Evaluation Forms repeatedly point out that
Fallin “lacked critical details” when explaining his experience
with heavy equipment, whereas Robinson had provided detailed
explanations during his interview. Compare Fallin Candidate
Evaluation Form, ECF No. 29-16 (completed by Vanlandingham on July

29, 2019 stating that Fallin “failed to convey the depth and

breadth of his experience, therefore, he is not being considered

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for this position”) with Robinson Candidate Evaluation Form, ECF
No. 29-17 (completed on July 29, 2019 by Vanlandingham stating
that Robinson “was very prepared and his answers were very
detailed”). Accordingly, Fallin’s 23 years of VDOT experience was
“not necessarily determinative of qualifications for [the]

promotion.” Matias v. Elon Univ., 780 Fed. App’x 28, 31 (4th Cir.

 

2019) (internal citation and quotation marks omitted).

VDOT is entitled to rely on its sound business judgment to
promote Robinson over Fallin. See Heiko, 434 F.3d at 261. And,
“[t]he district court cannot substitute its judgment for the
employer's” by assuming that Fallin’s years of experience and
computer proficiency compensates for Robinson’s substantial
experience with the VDOT computer systems and heavy equipment.
Wileman v. Frank, 979 F.2d at 37 (quoting Danzl v. North St. Paul-
Maplewood-Oakdale Indep. Sch. Dist. No. 622, 706 F.2d 813 (8th
Cir. 1983)). Fallin’s papers blur the line between minimum
requirements for the job (i.e., being qualified) and the most
qualified applicant. That is important here because “[{w]hen two
applicants meet the minimum educational qualifications of a
position, Title VII does not prevent an employer from preferring
the applicant who has educational qualifications which surpass the
minimum requirements of the position.” Wileman v. Frank, 979 F.2d
30, 37 (4th Cir. 1992). Fallin cannot establish a triable issue

of pretext by arguing that Robinson’s additional computer skills,

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including those he gained at the MSTP, should not have been
considered in light of Fallin meeting the minimally required
computer skills.

Furthermore, and significantly, interview notes from 2019
preserve the rationale behind the hiring panel’s promotion of
Robinson, eliminating allegations of inconsistencies by those on
the interview panel. See, e.g., 2019 Vanlandingham Interview Notes
(Fallin), ECF No. 29-4; Vanlandingham Interview Notes (Robinson),
ECF No. 29-5; 2019 Spangler Interview Notes 2019 (Fallin), ECF No.
29-14; 2019 Spangler Interview Notes 2019 (Robinson), ECF No. 29-
15; 2019 Fallin Interview Summary, ECF No. 29-16; 2019 Robinson
Interview Summary, ECF No. 29-17; 2019 Johnson Interview Notes
(Robinson), ECF No. 29-31; 2019 Johnson Interview Notes (Fallin),
ECF No. 29-32).

The record also refutes Fallin’s position that VDOT
discriminates against African-American employees generally because
the LAHQ, one of nine district headquarters,!® has never had an
African-American T.O. III. Demographic evidence submitted by VDOT
shows that between 2015 and 2021, 40 T.0. III positions were
filled, “29 of whom are Caucasian and 11 of whom are fAfrican-
American]. Caucasian employees represent 72.5 percent of T.O. III

candidates and [African-American] employees represent 27.5 percent

 

18 ECF No. 52 9 1. .
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of T.O. III candidates.” Decl. of Spangler, ECF No. 29-7 @ 36;
Spangler Ex. 12, ECF No. 29-19; Spangler Ex. 13, ECF No. 29-20.
In other words, based on the overall demographics of VDOT
employees, the diversity among T.O. III positions and applicants
appear to be congruent to the workforce racial composition.

The Court remains “mindful that we assess relative job
qualifications based on the criteria that the employer has
established as relevant to the position in question.” Heiko, 434
F.3d at 259. The record is clear: no triable issues exist as to
whether VDOT’s proffered -nondiscriminatory reason for not
selecting Fallin was a pretext for discrimination. No reasonable
juror could conclude that the evidence in the record would permit
a finding that Fallin was better qualified than Robinson or that
any circumstantial evidence supports a pretense of racial
discrimination. Furthermore , “[t])he broad, overriding interest,
shared by employer, employee, and consumer, is efficient and
trustworthy workmanship assured through fair and. . . neutral
employment and personnel decisions.” Burdine, 450 U.S. at 259

(quoting McDonnell Douglas Corp. v. Green, 411 U.S. 792, 801

 

(1973)). “Title VII, however, does not demand that an employer
give preferential treatment to minorities or women.” Id.
(referencing 42 U.S.C. § 2000e-2(})). Further, Title VII, does
“not require the employer to restructure his employment practices

to maximize the number of minorities and women hired.” Id.

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{referencing Furnco Constr. Corp. v. Waters, 438 U.S. 567, S77-

 

578 (1978)). Fallin indisputably has substantial experience at
VDOT and is clearly capable of being promoted but, on the record,
VDOT legitimately concluded that Robinson was the superior
candidate for the T.O. III position. And, no reasonable jury could
find otherwise.

In summary, the Court “simply cannot conclude, based upon the
record, that the [VDOT’s] proffered justifications for preferring
[Robinson] over [Fallin] were so unworthy of credence as to support
a finding of discriminatory intent.” Wileman, 979 F.3d at 38.
More particularly, the record made here would not permit a
reasonable jury to conclude that Fallin has carried the burden
assigned to him to put forth evidence that would allow a reasonable
jury to conclude that VDOT’s decision to promote Robinson because
he was better qualified than Fallin was pretext for racial
discrimination.

CONCLUSION

There are no genuine disputes of material fact and the record
clearly warrants the conclusion that the DEFENDANT’S MOTION FOR

SUMMARY JUDGMENT (ECF No. 28} should be granted.

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Robert E. Payne
Senior United States District Judge

It is so ORDERED.

 

Richmond, Virginia
Date: February } D>, 2022

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